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x Sushovan Hussain
Reg. No. 24067-111
FCI Allenwood Low
P.O. Box 1000
White Deer, Pa. 17887-1000

Hon. Malachy E. Mannion

UNITED STATES DISTRICT COURT

For the Middle District of Pennsylvania

William J. Nealon Federal Bldg. & U.S. Courthouse
235 North Washington Avenue

P.O. Box 1148

Scranton, Pa. 18501

October 10, 2021
BY CERTIFIED FIRST CLASS MAIL

Regarding: Sushovan Hussain v. Thompson, et al.
Civil Action No. 3:21-cv-01635-MEM-DB

 

Dear Judge Mannion:

Petitioner Sushovan Hussain ("Hussain") respectfully submits this letter to reserve his rights to seek and file motion to
compel written deposition pursuant to Federal Rule of Civil Procedure 31 upon receipt of respondents' show cause answer.

In September 2021 Petitioner filed a habeas corpus relief from discriminations and abuse of statutory authorities which
violates his Constitutional rights. In October 2021 Petitioner filed for Termporary Restraining Order. Concurrently with this
correspondence Petitioner includes a declaration in support of his Habeas Petition.

Pursuant to Federal Rules of Civil Procedure 26(b)(1), a party "may obtain discovery regarding any non-privileged matter
that is relevant to any party's claim or defense." Relevant information sought in discovery need not be admissible at trial, as
long as it "appears reasonably calculated to lead to the discovery of admissible evidence." Id. Relevance is generally
"considered broadly to encompass any matter that could bear on, or that reasonably could lead to other matter that could bear
on, any issue that is or may be in the case." Oppenheimer Fund v. Sanders, 437 U.S. 340, 351, 98 S. CT. 2380, 57 L. Ed. 2d

253 (1978).

This Court should indulge in a strong encouragement for additional fact-finding. Here, depending on Respondents’
response, Petitioner will seek written depositions to support his pleadings including, inter alia, how BOP decisions impact
foreign nationals, on the basis of the 1CE Immigration detainer, in violation of its own policy statement and how the BOP
formulated its criteria for eligibility for home confinement, which unilaterally excludes all foreign nationals, in contrast to
directives in the Attorney General's April 3, 2020 memo.

Petitioner respectfully submits the above in reliance of his Constitutional rights and ail applicable law and federal rule.

Dated: October 10, 2021
White Deer, Pa. 17887-1000
Respectfully submitted

havhavon fraseoel.
/s/ Sushovan Hussain

SUSHOVAN HUSSAIN

Petitioner Pro Se
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